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                       EXHIBIT 2
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(12) United States Patent                                                (10) Patent No.:                      US 9.298.864 B2
       Poulin                                                            (45) Date of Patent:                          *Mar. 29, 2016

(54) SYSTEM INCLUDING NETWORK                                                 G06F II/34                   (2006.01)
       SIMULATION FORMOBILE APPLICATION                                       G06F 9/44                    (2006.01)
       DEVELOPMENT                                                    (52) U.S. Cl.
                                                                           CPC .............. G06F 17/5022 (2013.01); G06F 8/30
(71) Applicant: WAPP Tech Corp, Red Deer (CA)                                            (2013.01); G06F 8/71 (2013.01); G06F
                                                                                      II/3457 (2013.01); G06F 9/455 (2013.01);
(72) Inventor: Donavan P. Poulin, Kelowna (CA)                                                         G06F220 1/86 (2013.01)
                                                                      (58) Field of Classification Search
(73) Assignee: WAPPTECH CORP., Red Deer (CA)                                  USPC .......... 703/22, 23, 24; 717/105,129: 370/254
                                           -                                  See application file for complete search history.
(*) Notice:      Subject to any disclaimer, the term of this
                 patent is extended or adjusted under 35              (56)                      References Cited
                 U.S.C. 154(b) by 0 days.
                                                                                        U.S. PATENT DOCUMENTS
                 This patent is Subject to a terminal dis
                 claimer.                                                    7,813,910 B1 * 10/2010 Poulin ............................. 703/22
                                                                             8,014.995 B2 * 9/2011 Marsyla et al. ................. TO3/23
(21) Appl. No.: 14/084,321                                                   8, 108.201 B2* 1/2012 Ragnunath et al. ............. TO3/24
                                                                             8, 150,675 B1 * 4/2012 Ortmanns et al. .............. TO3/23
        1-1.                                                                 8.255,878 B2 *      8/2012 Aoki et al. .........            717, 129
(22) Filed:      Nov. 19, 2013                                               8.332,203 B1* 12/2012 Poulin ............................. 703/22
                                 O     O                                     8,589,140 B1 * 1 1/2013 Poulin ............................. 703/22
(65)                Prior Publication Data                                   8,694,954 B2 * 4/2014 Ortiz .......                         717/105
                                                                             8,885,513 B2 * 1 1/2014 Ewing ...                           370,254
       US 2014/0081616A1             Mar. 20, 2014                     2014/008161.6 A1          3/2014 Poulin ............................. 703/22
             Related U.S. Application Data                            * cited by examiner
(60) Division of application No. 12/705,913, filed on Feb.            Primary Examiner — Thai Phan
     15, 2010, now Pat. No. 8,589,140, and a
     continuation-in-part of application No. 1 1/449,958,             (57)                     ABSTRACT
     filed on Jun. 9, 2006, now Pat. No. 7,813,910.                   A system, method and Software product emulate and profile
(60) Provisional application No. 61/152,934, filed on Feb.            an application playing on a mobile device. The mobile device
     16, 2009, provisional application No. 60/689,101,                is emulated using a model based upon characteristics related
     filed on Jun. 10, 2005.                                          to performance of the mobile device. The application is
                                                                      played and monitored within the model to determine resource
(51) Int. Cl.                                                         utilization of the application for the mobile device.
       G06F 9/455            (2006.01)
       G06F 17/50            (2006.01)                                                 50 Claims, 23 Drawing Sheets
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              APPLICATION 104
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Case 4:18-cv-00469-ALM Document 1-2 Filed 07/02/18 Page 11 of 39 PageID #: 66


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Case 4:18-cv-00469-ALM Document 1-2 Filed 07/02/18 Page 12 of 39 PageID #: 67


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Case 4:18-cv-00469-ALM Document 1-2 Filed 07/02/18 Page 22 of 39 PageID #: 77


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Case 4:18-cv-00469-ALM Document 1-2 Filed 07/02/18 Page 23 of 39 PageID #: 78


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                                        Fies. 23
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                                               Fig. 4

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Case 4:18-cv-00469-ALM Document 1-2 Filed 07/02/18 Page 26 of 39 PageID #: 81


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        SYSTEM.INCLUDING NETWORK                                         This transferring and testing process is time-consuming and
     SIMULATION FORMOBILE APPLICATION                                    therefore costly for the application author.
               DEVELOPMENT                                                  Furthermore, having accessibility to all available mobile
                                                                         devices in targeted geographical markets worldwide as well
                RELATED APPLICATIONS                                     as real-time interaction with network operators to measure
                                                                         and emulate network characteristics within each market is
   This application is a division of U.S. application Ser. No.           presently not possible.
12/705,913, filed Feb. 15, 2010 (now U.S. Pat. No. 8,589,
140), which claims priority to U.S. Application No. 61/152,                           SUMMARY OF THE INVENTION
934, filed Feb. 16, 2009, and is a continuation-in-part of U.S.     10
application Ser. No. 1 1/449,958, filed Jun. 9, 2006 (now U.S.              In one embodiment, a method emulates and profiles an
Pat. No. 7,813,910), which claims priority to U.S. Applica               application playing on a mobile device that includes an appli
tion No. 60/689,101, filed Jun. 10, 2005, all of which are               cation player. Characteristics defining performance of the
incorporated herein by reference.                                        mobile device are loaded. The mobile device is emulated
                                                                    15   using a model based upon the characteristics. The application
                       BACKGROUND                                        is played and monitored within the model to determine
                                                                         resource utilization of the application for the mobile device.
   It is estimated that the mobile market is evolving at five              In another embodiment, a method authors, emulates and
times the speed of the eCommerce market. It is estimated that            profiles an application playing on a mobile device that
nearly 700 million new mobile devices will be shipped in                 includes an application player. An application development
2005, with a new handset model being launched every other                tool authors the application and the mobile device is emulated
day. This rapid mobile device development requires that                  using a model based upon the characteristics. The application
applications designed to run on these mobile devices also                is played within the model and the model is monitored to
Sustain rapid development. Development systems targeted at               determine resource utilization of the application for the
one mobile device may become obsolete and possibly of little        25   selected mobile device.
value to the developer at the time it is shipped as well as                 In another embodiment, an environment is provided for
development life cycles.                                                 authoring an application to play on a mobile device that
   Many new mobile devices include a display management                  includes an application player. The application is authored
engine called a Flash Player; one example of a Flash Player              using an application development tool. Resource utilization
 suitable for mobile devices is FlashLite from Macromedia.          30   of the application for the mobile device is estimated. The
The Flash Player provides a common application platform for              steps of authoring and estimating are repeated until the
playing applications on the mobile devices and allows devel              resource utilization is less than or equal to the resources
opers to develop applications that may be played on multiple             available on the mobile device.
mobile devices that include the Flash Player. Applications for              In another embodiment, an emulator profiles an applica
mobile devices are typically developed on a personal com            35   tion of a mobile device that includes an application player,
puter (PC) or workstation and target one or more types of                including: means for generating a model of the mobile device
mobile device that include a Flash Player. These applications            based upon mobile device characteristics, and means for
require real-time testing of the application on all applicable           playing the application within the model to determine
 mobile devices. Each mobile device has a certain amount of              resource utilization of the application when played by the
resources, such as processor, memory, graphics and network          40   mobile device.
ing. A certain portion of these resources is available for use by          In another embodiment, a method determines whether a
the application when it is executed (i.e., run) on the mobile            frame-based application of a mobile device is operable. Char
device. Although a Flash Player application may operate cor              acteristics are downloaded over the Internet for one or more
rectly on one mobile device model, it may crash when playing             mobile devices to be emulated and the application for the
on a different mobile device model. For example, a NOKIA            45   mobile devices is tested, via the Internet, using an emulator to
6600 has a 16% reduction in ARM CPU speed and available                  determine if the application is operable on the mobile device.
memory resources compared to a NOKIA 7610, thus an
application that plays correctly on the NOKIA 7610 may not                       BRIEF DESCRIPTION OF THE FIGURES
play correctly on the NOKIA 6600 due to this drop in inherent
  SOUCS.                                                            50      FIG. 1A shows one exemplary embodiment of a system for
   Development packages (e.g., FlashMX by Macromedia)                    emulating, authoring and visually profiling a frame-based
are available to run on a PC and allow development of Flash              application playing on a mobile device that includes an appli
Player applications for one or more mobile devices. However,             cation player.
although these development packages may simulate opera                      FIG. 1B shows one exemplary embodiment of the system
tion of the application playing on the targeted mobile device,      55   of FIG. 1A within a computer.
they do not determine if the application will play correctly on             FIG. 2 is a block diagram illustrating detail of an emulator
the targeted mobile device based upon resource usage. Cur                of the system of FIGS. 1A and 1B.
rently, the only way to determine if an application plays on a              FIG. 3 is a display showing one exemplary frame-based
particular mobile device is to transfer the application to the           profile graph.
device and play it. During development of an application for        60      FIG. 4 is a display showing the modeled mobile device of
a mobile device, an application author may transfer and play             FIGS. 1A and 1B.
the application hundreds of times (development life cycles)                FIG. 5 shows one exemplary window that includes the
on the targeted mobile device before identifying and correct             display of FIG.3, the display of FIG. 4 and an exemplary user
ing all system resource problems within the application.                 interface.
Where an application is targeted to play on many types of           65      FIG. 6 is a flowchart illustrating a method for modeling and
 mobile device, it must be transferred and tested on a mobile            profiling a frame-based application to play on a mobile device
device representative of each targeted mobile device type.               that includes an application player.
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   FIG. 7 is a flowchart illustrating one method for authoring,  104 playing on a mobile device 114 that includes an applica
emulating and profiling a frame-based application to play on     tion player 116. System 100 is shown with an emulator 101
a mobile device that includes an application player.             and a profiler 106. Emulator 101 generates a mobile device
   FIG. 8 is a block diagram illustrating the emulator of FIG.   model 102, based upon characteristics 115 of mobile device
1 interacting with an operator development server via the      5 114. Model 102 emulates mobile device 114 to play frame
Internet for simulating playing of the application within a      based application 104 and may, for example, generate an
mobile device connected to a wireless network.                   emulated mobile device display 111 that represents mobile
   FIGS. 9, 10, 11 and 12 show exemplary user interface device 114. Emulated mobile device display 111 may be
screens for interacting with the emulator of FIG. 1 to config interactive to allow a user to interact (in a manner similar to
ure and test operation of the application within the model of 10 interacting with mobile device 114) with application 104
the mobile device when connected to a wireless network.          while playing within model 102.
   FIG. 13 is a flowchart illustrating one exemplary method         Mobile device 114 provides resources, such as processor
for configuring network simulation.                              resources, memory resources, graphic resources and net
   FIG. 14 is a flowchart illustrating one method for deter working resources, for use by application 104 when played
mining whether a frame-based application of a mobile device 15 within application player 116. Processor resources available
is operable.                                                     for running application 104 may be defined as a percentage of
   FIG. 15 shows one exemplary authoring environment for total processing resources of mobile device 114; memory
emulating and profiling running of a frame-based application resources may be defined as a percentage of total memory
on multiple mobile devices.                                      within mobile device 114; graphic resources may be defined
   FIG.16 shows one exemplary development scenario illus as a percentage of total graphical resources of mobile device
trating an authoring environment connecting to a develop 114; and networking resources may be defined as a percent
ment server to retrieve and utilize one or more network mod      age of total networking resources of mobile device 114. In
els and one or more device models.                               one example, 40% of a processor resource within a mobile
   FIG. 17 shows one exemplary para-authoring environment device is available for running application 104, indicating that
whereintwo application authoring environments cooperate to 25 application 104 may not exceed 40% of the available instruc
develop a frame-based application for a mobile device.           tion cycles of the processor without potentially crashing the
   FIG. 18 shows one exemplary para-authoring system illus       mobile device.
trating presence and social interaction between three author        Profiler 106 monitors playing of frame-based application
ing environments.                                                104 within model 102 to estimate resource usage of applica
   FIG. 19 shows one exemplary para-authoring system 30 tion 104 and generates a profile data display window 110.
wherein a frame-based application is developed across three Profile data display window 110 allows a user of system 100
cooperating authoring environments.                              to identify areas within application 104 that would exceed
   FIG. 20 shows the para-authoring system of FIG. 19 resources of mobile device 114.
wherein the authoring environment includes the emulator and         Application 104 may be developed using a frame-based
the network simulator to host emulation of the application. 35 application development tool 112 (indicated in dashed out
   FIG. 21 shows an exemplary display illustrating profiled line). Frame-based application development tool 112 may, for
data that combines CPU, memory, graphics, and network example, represent Flash MX or Studio 8 from Macromedia
utilization;                                                     (now Adobe Systems) and application 104 may represent a
   FIG. 22 shows an exemplary display illustrating profiled Flash application. Once the user of system 100 has verified
data for CPU utilization;                                     40 that the execution of application 104 does not exceed
   FIG. 23 shows an exemplary display illustrating profiled resources of mobile device 114, development tool 112 can be
data for memory utilization;                                     instructed to publish application 104 to mobile device 114, as
   FIG. 24 shows an exemplary display illustrating profiled shown.
data for graphic resource utilization;                              In one example of operation, development tool 112 is used
   FIG. 25 shows an exemplary display illustrating profiled 45 to develop frame-based application 104. Application 104 is
data for network resource utilization; and                       transferred to emulator 101 for playing within mobile device
   FIG. 26 shows an exemplary screen illustrating profiled model 102 to estimate resource usage of application 104
data for total system resource utilization.                      when played on mobile device 114. Upon playing application
                                                                 104 within model 102, emulator 101 utilizes profiler 106 to
      DETAILED DESCRIPTION OF THE FIGURES                     50 determine resource utilization of application 104 based upon
                                                                        mobile device characteristics 115.
   When developing a software program, a software devel                    In one embodiment, emulator 101 is integrated with devel
oper often utilizes a software profiler to generate a report on         opment tool 112 to form an authoring environment 122 that
the amount of time a processor spends in each routine of the            facilitates development and testing of application 104 without
Software program during execution. The report may be used          55   the need to continually load application 104 into mobile
to find and optimize resource intensive areas of the software           device 114.
program. Some profiling modes report units other than time                In another embodiment, emulator 101 is an add-in module
(such as call counts) and/or report at granularities other than         that may be configured to operate within development tool
per-routine. In the following description and examples, the             112.
term profiler may refer to a utility or function that determines   60      Mobile device 114 is shown with application player 116,
or estimates mobile device resource utilization by an appli             display 118 and input keys 120. In one embodiment, applica
cation running on that mobile device. For example, resource             tion player 116 is Flash Lite from Macromedia (Adobe Sys
utilization may be determined for each output frame of a                tems). Mobile device 114 may, for example, represent one of:
running frame-based application and displayed as a percent              a cellphone, a personal digital assistant (PDA), an interactive
age of available resources for a particular mobile device.         65   home appliances and other such devices. In one example,
   FIG. 1A shows one exemplary embodiment of a system                   display 118 represents a color liquid crystal display (LCD)
100 for emulating and profiling a frame-based application               device for displaying text and images to a user of mobile
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device 114 and input keys 120 represent buttons that allow the            istics 115) for multiple devices (e.g., mobile device 114). For
user to interact with mobile device 114.                                  example, characteristics 115 may be included for each mobile
   FIG. 1B shows one exemplary embodiment of system 100                   device type targeted by application 104. A user of system 100
within a computer 130. Computer 130 includes memory 132,                  may then select one or more target mobile devices from a list
storage 134 and a processor 136. Memory 132 is for example                based upon available characteristics 115. As appreciated,
random access memory (RAM) and storage 134 is for                         additional or fewer characteristics may be included within
example a disk drive or other non-volatile storage media.                 characteristics 115 to specify hardware attributes and perfor
   Storage 134 is shown with emulator 101, mobile device                  mance of mobile device 114 without departing from the scope
characteristics 115 and application 104. Storage 134 may also             hereof.
include development tool 112, if desired, for developing             10      As new mobile device types are created, additional mobile
application 104. Emulator 101 includes model algorithms                   device characteristics 115 may be easily created to specify
148 and profiler 106. Model algorithms 148 represent one or               hardware attributes and performance of the new device types,
more algorithms that operate to generate mobile device model              allowing application development to start before a physical
102 to emulate mobile device 114 while executing applica                  mobile device is available. For example, if a company intro
tion 104. Specifically, model algorithms 148 define operation        15   duces a new series of six mobile phone handsets, six addi
of mobile device 114 based upon mobile device characteris                 tional sets of mobile device characteristics 115 may be cre
tics 115.                                                                 ated based upon measured (e.g., by running benchmarks on
                                                                          the new handsets or prototype) or determined (e.g., by esti
                                 TABLE 1.                                 mating performance based upon previous models) perfor
                                                                          mance thereby allowing emulation and evaluation of applica
                     Mobile Device Characteristics                        tions targeting these new devices.
        Parameter                                    Value                   In one embodiment, mobile device characteristics 115 may
                                                                          be supplied with a device model specific to one mobile
        Name                                   NOKIA 3650                 device. For example, a manufacturer may supply a combined
        Processor                               ARM 4T               25   device model and characteristics for each mobile device 114.
        Processor Speed                            104 MHz
        Storage Access                                5.88                Emulator 101 may then utilize the combined device model as
        Speed                                   files second              device model 102.
        RAM Size                                     256 MB                 In one example, computer 130 may include an interface
        Storage Size                                 S12 MB               (not shown) that provides communication with mobile device
        Display Width                                256
        Display Height                               394             30   114 via one or more of USB, Ethernet, infra-red, Bluetooth,
        Pixel Depth                                   24                  WiFi and other similar communication media. This interface
        Processor Availability                       60%                  may, for example, allow application 104 to be deployed on
        RAMAvailability                              60%                  mobile device 114 for final testing of application 104.
        Storage Availability                         40%
                                                                             In one example of operation, processor 136 loads at least
                                                                     35   part of emulator 101 into memory 132 for execution. Emula
   Table 1 Mobile Device Characteristics, shows exemplary                 tor 101 then generates mobile device model 102, based upon
characteristics that may be used to specify hardware attributes           characteristics 115, within memory 132. Emulator 101 then
and performance of model 102 to emulate mobile device 114.                loads and plays application 104 within model 102. In all
For example, in Table 1, the characteristics have the following           embodiments described herein, it is to be noted that emulation
meaning: Processor specifies the type of the processor in            40   is performed on a processor extrinsic to the mobile device
mobile device 114; Processor Speed specifies the clocked                  being emulated. Emulator 101 may load all or part of profiler
speed of the processor within mobile device 114; Storage                  106 into memory 132 to monitor resources and/or perfor
Access Speed specifies the rate at which data can be moved                mance of application 104 within model 102. Specifically, as
from storage to memory and/or screen within mobile device                 application 104 is played (i.e., utilizing an application player
114; RAM Size specifies the size of the RAM in mobile                45   154) within model 102, profiler 106 monitors and records, as
device 114; Storage Size specifies the size of the non-vola               profiled data 152, resources utilized by application 104. Pro
tile memory in mobile device 114: Display Width specifies                 filed data 152 may be stored (as shown in dashed outline)
the number horizontal pixels on display 118 of mobile device              within storage 134 and/or displayed as profile data display
114: Display Height specifies the number of vertical pixels               window 110 on display 140 of terminal 138. In particular,
of display 118; Pixel Depth specifies the number of bits per         50   profile data display 110 may be used to identify areas within
pixel (e.g., the color depth) of display 118: Processor Avail             application 104 whereupon playing of application 104 within
ability specifies the percentage of processing resource avail             mobile device 114, performance of mobile device 114 would
able for use by applications (e.g., where mobile device 114               be stressed. Thus, areas where failure may occur within appli
represents a cell phone, the phone has to maintain phone                  cation 104 may be identified prior to running application 104
operations while running any applications, thus there may            55   on mobile device 114. For example, emulator 101 may dis
only be a portion of the maximum processing resource avail                play all or part of profiled data 152 on display 140 to facilitate
able to applications); RAM Availability specifies the per                 development of application 104.
centage of RAM available to applications; and Storage                        FIG. 2 is a block diagram illustrating emulator 101 of
Availability specifies the percentage of non-volatile storage             FIGS. 1A and 1B in further detail. In particular, profiler 106,
space available to applications.                                     60   within emulator 101, is shown with a processor profile mod
   Table 1 may be represented as a data structure (e.g., shown            ule 202, a memory profile module 204, a graphic profile
as mobile device characteristics 115 within storage 134) and              module 206 and a system profile module 208. Processor
may be stored in a file (not shown) or a database (not shown)             profile module 202 may, for example, estimate processor
within storage 134, or stored remotely (e.g., on operator                 utilization of application 104 within model 102. Memory
development server 808, FIG. 8, for download into authoring          65   profile module 204 may, for example, estimate memory uti
environment 122 as necessary). System 100 may include                     lization by application 104 within model 102. Graphic profile
mobile device characteristics (e.g., mobile device character              module 206 may, for example, estimate utilization of 3D fill
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rate and 3D polygon count of application 104 within model               be output as a report (not shown). The user interacts with
102. System profile module 208 may, for example, determine              emulated mobile device display 111 to control application
overall system utilization of application 104 within model              104 as if application were running on mobile device 114.
102. More or fewer profile modules may be included within                  FIG. 3 shows one exemplary profile data display window
profiler 106 without departing from the scope hereof.              5    110 showing a frame-based display of profiled data 152, FIG.
   Device model 102, within emulator 101, has a modeled                 1B, determined by processor profile module 202. In particu
display 210, a modeled processor 212, modeled input keys                lar, profile window 110 is shown with a time line 302 that
214, modeled memory 216 and modeled non-volatile storage                represents timeline 222 of application 104. In this example,
218. In this example, modeled display 210 represents display            each bar 304 indicates processor resource utilization for each
118 of mobile device 114, FIG. 1, processor 212 represents a       10   of certain frames 223 of application 104. In each embodiment
processor (not shown) of mobile device 114, modeled input               of the present system described herein, each bar may, alter
keys 214 represent input keys 120 of mobile device 114,                 natively, represent a particular point or period in time during
modeled memory 216 represents memory (e.g., RAM) of                     the execution of an application 104 which is non-frame
mobile device 114 and modeled non-volatile storage 218                  based. During play of application 104 within model 102, a
represents non-volatile storage (e.g., flash memory, disk drive    15   current position indicator 306 shows the frame (i.e., frame 1
storage) of mobile device 114. Fewer or more elements and/or            in this example) currently displayed by emulated mobile
components of mobile device 114 may be modeled within                   device display 111 (see FIG. 4). A capacity line 308 (capout
device model 102 without departing from the scope hereof.               line) indicates the maximum processor resource available to
   Modeled non-volatile storage 218 is shown with applica               application 104. Where bars 304 rise above capacity line 308
tion player 154 that may be the same as, or similar to, appli           at locations 310, resource utilization for indicated frames of
cation player 116, FIG.1. In one example, application player            application 104 exceed the available processor resources of
154 has similar operation to application player 116, but                mobile device 114; thus application 104 may capout or
includes modifications that facilitate monitoring of applica            crash when playing those frames. Profile window 110 dis
tion 104 within model 102 by profiler 106.                              plays per-frame (or point-in-time) processor resource utiliza
   Flash applications are based upon a timeline of frames that     25   tion of application 104, thereby facilitating assessment of
may include graphical information and action scripts, FS                stresses applied to mobile device 114 when playing applica
Commands, network protocols, selected frame rate, etc.                  tion 104. Where the number of frames 223 of application 104
Application player 116 within mobile device 114 thus oper               exceeds the display capacity of profile window 110, a scroll
ates upon a time line of frames within application 104 to               bar 312 allows the user to scroll through bars 304 for appli
provide graphical displays (e.g., animations, rich media con       30   cation 104.
tent) upon display 118. Accordingly, profiled data 152 may                Other profile modules 204, 206 and 208, may have similar
also be based upon the timeline and frames of application 104           displays that indicate resource utilization during playing of
and displayed (e.g., via profile data display window 110) as            application 104 within model 102, thereby estimating
resource utilization related to one or more of timeline, frames         resource utilization of application 104 when played within
and processing performance of action scripts.                      35   mobile device 114.
   In FIG. 2, application 104 is shown with a timeline 222 that            FIG. 4 shows one exemplary display 400 generated from
includes frames 223. Each frame of frames 223 may include               device model 102 within emulator 101, FIG.1. In particular,
graphics and/or action scripts that generate the graphical              display 400 shows an image (e.g., generated from a bitmap of
image for display. For example, an action script may refer              mobile device 114) of mobile device 114 with a display area
ence one or more graphic files (e.g., movie file 224) to provide   40   402 and input keys 404. Display 400 allows the user to see and
graphical images for emulated mobile device display 111.                interact with an application running within device model 102.
Where each frame of frames 223 includes multiple graphic                For example, display area 402 may represent display 118 of
elements and/or action scripts that involve image manipula              mobile device 114 and input keys 404 may represent input
tion (e.g., retrieving data from non-volatile storage, avatar           keys 120 of mobile device 114.
manipulations, animations, etc.), each frame may require dif       45      FIG. 5 shows an exemplary window 500 that includes
fering resources in order to display correctly. For example,            profile window 110 of FIG.3 and display 400 of FIG.4 and an
where a frame includes Avatar (e.g., an animated character)             exemplary user interface. In particular, window 500 shows
manipulation, a certain amount of processor resource is                 selection of a mobile device (i.e., NOKIA 3650 in this
required, whereas a frame that is based upon movie file 224             example) from a pull-down list 502 that results in display of
may simply require data transfer time. If mobile device 114        50   characteristics 504 of the selected mobile device in system
has insufficient processor resources (e.g., because the anima           information window 506. Characteristics 504 may represent
tion is too complex for the targeted mobile device), applica            characteristics 115 of FIG. 1A, for example. System infor
tion 104 may crash (i.e., cease to function correctly). Thus, it        mation window 506 may contain information related to sys
is important to determine the stress applied by application             tem resource utilization with respect to the handset CPU and
 104 to resources of mobile device 114.                            55   memory, the executing application, and network and various
   In one example of operation, application player 154 plays            system resources. Window 500 facilitates interaction with
application 104 within model 102. In particular, player 154             model 102 through display 400 and monitoring of resource
processes frames 223 of application 104 based upon ordering             utilization of application 104 through profile window 110.
of frames 223 within timeline 222. One or more profile mod              Furthermore, pull-down list 502 allows easy selection of fur
ules 202, 204, 206 and 208 within profiler 106 monitor             60   ther mobile devices upon which application 104 is to be
resource utilization of each frame, storing results as profiled         profiled.
data 152. Profiled data 152 is then displayed as profile data              FIG. 6 is a flowchart illustrating a method 600 for modeling
display window 110 on display 140 for review by the user.               and profiling an application playing on a mobile device that
Profiled data 152 may be displayed in real time as application          includes an application player. Method 600 may, for example,
104 is played within model 102. Alternatively, the user may        65   be implemented within emulator 101.
scroll through profiled data 152 as desired by interacting with            In step 602, method 600 loads characteristics defining
profile data display 110. Alternatively, profiled data 152 may          hardware attributes and performance of the mobile device. In
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one example of step 602, a user of window 500 selects a                 phone wireless network environment). Simulated network
mobile device using pull-down list 502 and emulator 101                 operation is described in further detail below and shown in
loads mobile device characteristics 115 into memory 132.                FIGS. 8though 13.
   In step 604, method 600 emulates the mobile device using                In step 716, method 700 transfers the application to the
a model based upon the characteristics. In one example of step          mobile device. In one example of step 716, emulator 101
604, emulator 101 generates device model 102 based upon                 instructs development tool 112 to publish application 104 to
 mobile device characteristics 115.                                     mobile device 114.
  In step 606, method 600 loads the application into the                   FIG. 8 is a block diagram illustrating interaction of emu
model. In one example of step 606, emulator 101 loads appli             lator 101 with an operator development server 808 via Inter
cation 104 into device model 102.                                  10   net 822 for simulating playing of application 104 within a
  In step 608, method 600 plays the application within the              mobile device connected to a wireless network (e.g., a mobile
model. In one example of step 608, emulator 101 plays appli             phone wireless network). FIGS. 9, 10, 11 and 12 show exem
cation 104 within model 102.                                            plary windows that allow a user to interact with emulator 101
   In step 610, method 600 monitors the application playing             for configuring and testing operation of application 104
in the model to determine resource utilization of the applica      15   within model 102 when simulating connection to a wireless
tion for the mobile device. In one example of step 610, emu             network. FIGS. 8, 9, 10, 11 and 12 are best viewed together
lator 101 utilizes profiler 106 to monitor application 104              with the following description.
playing within model 102 to determine profiled data 152.                   Emulator 101 is shown with an operator interface 802 that
   In step 612, method 600 displays the resource utilization            interacts with operator development server 808 via Internet
information. In one example of step 612, emulator 101 dis               822. Internet 822 may, for example, represent the worldwide
plays all or part of profiled data 152 as frame-based profile           web (WWW), an Intranet or any fixed or wireless server
data display window 110 on display 140.                                 connection. Operator development server 808 is shown with
   FIG. 7 is a flowchart illustrating one method 700 for                a simulator 810, characteristic data 815 and model data 820.
authoring, emulating and profiling an application to play on a          Model data 820 may, for example, represent live network
mobile device that includes an application player. Method          25   profiles. To facilitate connection to operator development
700 may be implemented within emulator 101, for example.                server 808, a user of emulator 101 purchases a subscription
   In step 702, method 700 receives instructions for authoring          from a provider of operator development server 808 (or from
an application for a mobile device. In one example of step              a third party) that allows emulator 101 to connect to operator
702, a user interacts with frame-based application develop              development server 808 via Internet 822. Upon connection to
ment tool 112 to author application 104.                           30   operator development server 808, emulator 101 may down
   In step 704, method 700 plays the application within an              load characteristic data 815 from operator development
emulation of the mobile device. In one example of step 704,             server 808 for one or more mobile device types supported by
emulator 101 generates model 102 based upon characteristics             operator development server 808 (i.e., supported by the
115 of mobile device 114 and then loads and plays application           operator's wireless network). Characteristic data 815 may,
 104 within model 102.                                             35   for example, represent mobile device characteristics 115 of
   In step 706, method 700 determines resource utilization of           FIG. 1. Further, emulator 101 may download additional
the playing application. In one example of step 706, emulator           model data 820 for use within device model 102 for increas
101 utilizes one or more profile modules 202, 204, 206 and              ing simulated functionality of model 102 (e.g., simulating
208 of profiler 106 to determine resource utilization of appli          additional handset functionality and/or network functional
cation 104 within model 102 and stores the resource utiliza        40   ity). The user of emulator 101 may, for example, purchase
tion information as profiled data 152.                                  model data 820 for additional mobile device types as they
   In step 708, method 700 evaluates resource utilization in            become available, thereby allowing emulator 101 to include
view of characteristics of the mobile device. In one example            modeling capability for a new pre-release mobile device,
of step 708, emulator 101 evaluates profiled data 152 to                scheduled release mobile device and current mobile devices.
determine, based upon characteristics 115, if resource utili       45   Alternatively, the use of characteristic data 815 and model
zation is within available resources of mobile device 114.              data 820 may be included within a monthly subscription fee,
   Step 710 is a decision. If in step 710, method 700 deter             thereby allowing the user to author applications for new
mines that the resource utilization of step 708 is within avail         mobile devices (e.g., new mobile phone models and live
able resources of mobile device 114 (i.e., OK), method 700              mobile profiles) provided by an operator (e.g., mobile phone
continues with step 714; otherwise method 700 continues            50   wireless network operator).
with step 712.                                                             In one example of operation, emulator 101 downloads a
   In step 712, method 700 receives instructions for authoring          network simulator interface 804 from operator development
the application to resolve resource issues. In one example of           server 808 into device model 102 as shown in FIG. 8. Net
step 712, the user modifies application 104, based upon deter           work simulator interface 804 includes functionality that
mined resource utilization of step 708, using development          55   allows device model 102 to communicate with simulator 810
tool 112. Method 700 continues with step 704. Steps 704                 to simulate connectivity of mobile device 114 with a wireless
though 712 thus repeat until the estimated resources require            network. Specifically, network simulator interface 804 within
ment of the application is within available resources of the            model 102 interacts with data provider 812 and event genera
 mobile device.                                                         tor 814 to determine resource utilization resulting from net
   Step 714 is optional and is particularly suited for testing     60   work interaction by model 102. Thus, as application 104
applications (e.g., application 104) running on a mobile                plays within model 102, the effects of mobile device 114
device (e.g., mobile device 114) that is a mobile phone. In step        interacting with a wireless network are simulated Such that
714, emulator 101 interacts with one or more operator devel             frame-based profile data display window 110 shows resource
opment servers (e.g., operator development server 808, FIG.             utilization that includes the live or scripted effects of interac
8) to configure device model 102 for simulated network             65   tion with the wireless network. In one embodiment, capacity
operation to allow testing of application 104 within a simu             line 308 in profile data display window 110 is dynamically
lated wireless network environment (e.g., a simulated mobile            modified to show actual resource availability to application
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104 resulting from resource utilization by simulated wireless            In one embodiment, maps 904,908 and lists 1004, 1104,
network activity within device model 102. For example, if a           1202, 1204 and 1206 are based upon information received by
message is received and/or retrieved by model 102 while               operator interface 802 from one or more operator develop
playing application 104, certain resources are required to            ment servers 808. Thus, functionality of model 102 and
handle the received message, and therefore available             5    selectable simulations of simulator 810 may be easily
resources for application 104 is reduced accordingly.                 updated by the operator as new mobile devices are created
  Simulator 810 is shown with a data provider 812 and an              without requiring updates to software of emulator 101.
event generator 814. Data provider 812 may, for example,                 Optionally, the user may select menu item 901, FIG. 9, to
 simulate data transfers within a wireless network. For               immediately locate, download and import modeling charac
example, the data transfer may be cased upon a certain band      10   teristics into emulator 101. These characteristics may be
width associated with the wireless network. Event generator           stored within storage 134 of computer 130, FIG. 1B.
814 may, for example, generate certain events (e.g., incoming            FIG. 13 is a flowchart illustrating one exemplary method
calls, incoming text messages, etc) that occur within a wire          1300 for configuring wireless network simulation.
less network. Simulator 810, using data provider 812 and                 In step 1302, method 1300 selects a geographic location of
event generator 814, thus interacts with network simulator       15   the wireless network. In one example of step 1302, emulator
interface 804 to model operation of a wireless network (e.g.,         101 displays window 900 and the user selects the United
a mobile phone network).                                              Kingdom as the wireless network location.
   Operator interface 802 may interact with multiple operator            In step 1304, method 1300 selects a network operator from
development servers 808 to facilitate testing of application          within the selected location. In one example of step 1304,
104 with many operators’ networks. As appreciated, where              emulator 101 displays window 1000 including pull-down list
application 104 is designed to function on multiple mobile            1004 of network operators within the location selected in step
devices operating on wireless networks worldwide, operator            1302.
network simulation removes the burden of traveling to opera              In step 1306, method 1300 connects to the selected net
tor network locations from application developers, since              work operator's development server. In one example of step
application operation on a mobile device connected to a net      25   1306, emulator 101 utilizes operator interface 802 to connect
work may be simulated by emulator 101 and thus measured               to operator development server 808 based upon the operator
back against the authoring environment.                               selected in step 1304.
   FIG. 9 shows one exemplary window 900 for selecting                   In step 1308, method 1300 downloads a list of mobile
operator networks based upon a desired geographic location.           devices supported by the simulator of the operator selected in
Window 900 shows a menu item 902 that, upon selection by         30   step 1304. In one example of step 1308, emulator 101 down
the user, displays a world map 904 that allows the user to            loads characteristic data 815 from server 808 to determine
select a geographical region in which mobile device 114 is to         mobile devices supported by simulator 810 and populates list
operate. For example, window 900 shows a mouse pointer                1104 of window 1100. Of note, an operator may add func
906 selecting the United Kingdom, resulting in a sub-map              tionality to simulator 810 based upon a new mobile device
display 908 of the selected location showing available wire      35   prior to supporting the device within the operator's wireless
less networks 910. Sub-map display 908 is, for example a              network, thereby encouraging development of applications
 mouse-over event. Upon selection of the location, world              for the new device before its launch, increasing operator
map 904 is replaced by sub-map 908 of the selected location           and/or author revenues.
and a pull-down list 1004 of available operators within that             In step 1310, method 1300 selects a mobile device from the
location as shown in window 1000, FIG.10. Alternatively, the     40   list of supported mobile devices. In one example of step 1310,
use may select menu item 1002 to display pull-down list               the user selects a mobile device for emulation from list1104
 1004.                                                                of window 1100. In another example, where the user has
  Upon selection of an operator within pull-down list 1004,           already selected a mobile device from pull-down list 502,
emulator 101 displays a pull-down list 1104 of mobile                 emulator 101 automatically selects the same device, if avail
devices Supported by the selected operator, as shown in win      45   able, from list 1104.
dow 1100 of FIG. 11. Alternatively, the use may select the               In step 1312, method 1300 downloads a network simulator
menu item 1102 to display list 1104. Upon selection of a              interface for the selected mobile device. In one example of
mobile device from list 1104, window 1200, FIG. 12, is                step 1312, emulator 101 instructs operator interface 802 to
displayed to allow the user to select desired network charac          download network simulator interface 804 from server 808.
teristics for simulation.                                        50      In step 1314, method 1300 loads the network simulator
   Window 1200 shows a pull-down list 1202 of network                 interface into the mobile device model. In one example if step
characteristics that may be simulated by simulator 810. For           1314, emulator 101 loads network simulator interface 804
example, simulator 810 may allow control of scripted events           into model 102.
(e.g., cell tower identification, service message, bandwidth,            In step 1316, method 1300 selects network characteristics
etc.), consumer events (e.g., checking email, checking mes       55   to simulate. In one example of step 1316, the user utilizes lists
sages, browsing network, available minutes, selecting                 1202, 1204 and 1206 of window 1200 to specify network
images, etc.) and incoming events (e.g., phone calls, WAP             characteristics for simulation by simulator 810.
Messages, receiving MMS, receiving SMS, etc.). Based upon                In step 1318, method 1300 models the application running
selection from list 1202, a second list may be presented to           within a mobile device connected to a wireless network. In
allow further simulation requirements to be entered. In the      60   one example of step 1318, model 102 interacts with simulator
example of window 1200, consumer events entry of list 1202            810 via network simulator interface 804 and internet 822
was selected, resulting in display of pull-down list 1204 from        while playing application 104 and displaying profile window
which check messages was selected resulting in the display of         110.
pull-down list 1206. In this example, the user may select                In one embodiment, the user may purchase and download
 send message from list 1206 to evaluate the performance of      65   simulator 810 from operator development server 808 to facili
application 104 while a message is received from the net              tate local simulation of the wireless network (i.e., without
work.                                                                 utilizing Internet 822). In this embodiment, simulator 810
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may operate within emulator 101, within authoring environ                hundreds of times (development life cycles) on the targeted
ment 122 or within computer 130 to provide interaction with              mobile device before identifying and correcting all system
model 102.                                                               resource problems within the application. Live server and
  Emulator 101 may utilize operator interface 802 to interact            profile updates would substantially reduce and alleviate a
with one or more operator development servers 808 to down                high churn rate of development life cycles, enabling a more
load characteristics (e.g., characteristic data 815) and model           cost effective authoring model for the developer. As well,
ing data (e.g., model data 820) for generating mobile device             although the purchase of a static PC authoring environment
 model 102. As new mobile devices are made available, each               may become obsolete due to the ongoing release of new
application author (i.e., user) is able to download these mod            mobile handsets (the target release platform) emulator 101
eling characteristics and test applications for the new mobile      10   and operator development server 808 maintains a live and
device. As mobile devices become more Sophisticated and                  continually updatable business model and authoring platform
include additional hardware and functionality, emulator 101,             long after the initial authoring platform has released to the
though a subscription service with an operator, for example,             market.
may download this additional functionality for use in model                 FIG. 14 is a flowchart illustrating one method for deter
102. These characteristics (e.g., characteristic data 815) may      15   mining whetheran application of a mobile device is operable.
include bitmaps, characteristics handset profiles, modeling              In step 1402, method 1400 downloads characteristics over
algorithms, complete mobile device models, bandwidths etc.               Internet for one or more mobile devices to be emulated. In
thereby automatically updating functionality of authoring                step 1404, method 1400 tests the application for the mobile
environment 122. Wireless network operators participate by               devices, via the Internet, using an emulator to determine if the
updating their development servers (e.g., development Serv               application is operable on the mobile device.
ers 808) to provide the latest emulation information and func               FIG.15 shows one exemplary authoring environment 1502
tionality for each Supported mobile device (e.g., mobile                 for emulating and profiling running of a frame-based appli
phone handset) and by updating their network simulators                  cation 1506 on multiple mobile devices. Authoring environ
(e.g., simulator 810) to includes functionality and/or pro               ment 1502 includes a display 1540 and an input device 1542
posed functionality of their wireless networks.                     25   that allow a user to interact with authoring environment 1502.
   Application authors (e.g., users of emulator 101) are pro             Display 1540 may represent one or more computer displays
vided with a visual authoring environment in which the                   and input device 1542 may represent one or more input
authored application may be emulated as operating within                 devices such as keyboard, mouse, graphic tablet, etc. In one
one or more modeled mobile devices (that are optionally                  embodiment, display 1540 and input device 1542 are com
connected to a simulated wireless network) without leaving          30   bined in the form of a touch screen. Authoring environment
the authoring environment.                                               1502 also includes an application developer 1504 (e.g., Flash
   The emulator (e.g., emulator 101) may be provided as part             MX for Flash Lite applications, xCode and Instruments for
of the authoring environment, or as an add-on to an existing             Apple applications, and Android for Google applications)
development tool. In an embodiment, characteristics for each             that is used to create and/or modify application 1506. The user
 mobile device to be emulated are downloaded from a server          35   interacts with application developer 1504, via input device
for a determined price or subscription fee. Since new mobile             1542 and display 1540, to create an application 1506. Appli
devices are continually being produced, application authors              cation 1506 is, for example, a Flash Lite application for use on
continually require new modeling characteristics to be able to           a mobile device running a Flash Lite environment, or an
test their applications. For example, a Subscribed charge of             Android application for use on a mobile device implementing
S10-15 dollars per handset saves each developer from pur            40   Android.
chasing a mobile device (S100-200 dollars) and alleviates the               Authoring environment 1502 also includes an emulator
need to travel to a wireless network location when testing               1510 and one or more device models 1512 for emulating
each mobile device. Thus, the wireless network operator may              operation of one or more mobile devices to allow the user to
receive revenue from developers by providing the developers              test operation of application 1506 on each device. Emulator
with online network simulation capability. The application          45   1510 may output, to display 1540, one or more frame-based
authors, via the Internet, are then able to test applications for        profile data displays 1544 and one or more emulated mobile
mobile devices running on wireless networks worldwide.                   device displays 1548. Displays 1544 and 1548 are for
   Characteristics for each mobile device to be emulated may             example shown within windows and/or frames on display
be downloaded from a server for a determined price, licensing            1540.
or subscription fee. It is estimated that nearly 700 million new    50     Authoring environment 1502 may also include a network
mobile devices will be shipped in 2005, with a new handset               simulator 1520 that simulates a service provider network and
model being launched every other day. This rapid mobile                  interacts 1526 with one or more emulated device models
device development requires that applications designed to run            1512. Network simulator 1520 includes a data provider 1522
on these mobile devices also Sustain rapid development.                  that provides data to device models 1512 and an event gen
Development systems targeted at one mobile device may               55   erator 1524 that generates network events to simulate con
become obsolete and possibly of little value to the developer            nection of device models 1512 to a real service provider
at the time it is shipped. Since a new mobile device is being            network. That is, data and events of the real network are
launched every other day, application authors continually                simulated by network simulator 1520.
require purchasing all addressable targeted devices prior to                Application developer 1504, emulator 1510 and network
consumer release. For example, a charge of S10-15 dollars           60   simulator 1520 may each be a part of authoring environment
per modeled handset would save each developer purchasing                 1502, or may each be an external software program that is
each target mobile device (S100-200 dollars) as well as alle             configured to cooperate with components of authoring envi
viating the need to travel to a wireless network location whilst         ronment 1502. That is, authoring environment 1502 may
testing each mobile device before public release, two substan            incorporate one or more software programs to facilitate cre
tial development and release costs.                                 65   ation, modification and testing of application 1506.
   During development of an application for a mobile device,                In one example of operation, the user creates and/or edits
an application author may transfer and play the application              application 1506 by interacting with application developer
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                           15                                                                            16
 1504 via display 1540 and input device 1542. Application                  user may move a processor resource capacity line up to
 1506 is then loaded into one or more selected device models               increase the available processor resource above that defined
1512 and one or more frame-based profile data displays 1544                for the emulated mobile device. For example, the user may
and emulated mobile device displays 1548 are shown on                      increase the available processor resources to pass a processor
display 1540. If, during running of application 1506 on emu-          5    intensive frame within application 1506, thereby allowing
lated device model 1512, a problem or optimization is iden                 evaluation of frames within application 1506 beyond a point
tified, the user may modify application 1506 using applica                 where application 1506 would otherwise crash. In another
tion developer 1504. In one example, the user interacts with               example, the user may decrease a memory resource available
application developer 1504 to modify application 1506,                     to application 1506 (e.g., by lowering the memory capacity
which then, through cross pollination 1508, updates each              10   line within the memory display 1544) in order to stress test
device model 1512. That is, application 1506 is updated                    application 1506.
within each device model 1512 automatically such that                         Emulator 1510 may also emulate device models 1512 at
changes to application 1506 within application developer                   speeds other than real time. For example, a user of application
1504 are duplicated within each device model 1512.                         developer 1504 and emulator 1510 may elect to emulate
   In another example of operation, the user modifies appli-          15   device model 1512 at half speed during testing of at least part
cation 1506 within device model 1512 by interacting with one               of application 1506. Alternatively, where application 1506 is
or more of frame-based profile data displays 1544 and/or                   being tested for operability on a plurality of mobiles devices,
emulated mobile device displays 1548. The user may select a                the user may elect to emulate device models 1512 as fast as
frame of application 1506 to edit by manipulating a current                possible. In one example, the user may define one or more
position indicator (e.g., position indicator 306, FIG. 3).            20   inputscripts 1562 for use with application 1506 such that user
Authoring environment 1502, through cross pollination                      interaction with each device model 1512 is not required
1508, automatically updates application 1506 within appli                  unless resource utilization is exceeded by application 1506
cation developer 1504 and application 1506 within any other                for that model. For example, input scripts 1562 may predefine
device model 1512, such that each application 1506 within                  user interaction at defined frames of application 1506.
authoring environment 1502 remains current.                           25      In an embodiment, when all of frame based profile data
   In another example of operation, the user emulates mul                  display 1544, emulated mobile device display 1548, network
tiple device models 1512 within emulator 1510 to test appli                display 1554 and application display 1552 of a first device
cation 1506 within each device model 1512 simultaneously.                  model 1512 are minimized (i.e., not currently displaying
Emulator 1510, through emulation of device models 1512,                    content within display 1540), input made to any other device
identifies problems within application 1506 that are specific         30   model 1512 is automatically propagated to that first device
to each emulated device model 1512. For example, where                     model 1512.
CPU and/or memory over utilization of the emulated device                   In an alternate embodiment, each device model 1512 oper
model 1512 occurs when running application 1506, device                  ates, within emulator 1510, independently of any other device
model 1512 and/or emulator 1510 identifies the location (i.e.,           model 1512, allowing the user to interact with (or define an
frame) within application 1506 of such over utilization prob-         35 input script for) each device model 1512 independently.
lems and they are reported to the user within frame-based                   FIG.16 shows one exemplary development scenario 1600
profile display data 1544 (and optionally other summary dis              illustrating an authoring environment 1602 connecting to a
plays generated by emulator 1510).                                       development server 1660 to retrieve and utilize one or more
   Emulator 1510 may operate such that emulated mobile                     network models 1606 and one or more device models 1608.
device display 1548, network display 1554 and application             40 Authoring environment 1602 may represent authoring envi
display 1552 for each emulated device model 1512 appears to              ronment 1502, FIG. 15, and authoring environment 122 and
operate substantially in real time (i.e., as if application 1506 is      include similar functionality. Development server 1660 may
actually running on the mobile device being emulated). More              represent development server 808, FIG. 8, and include similar
specifically, emulator 1510 may provide runtime profiling of             functionality. Authoring environment 1602 and development
real time mobile device resource utilization by application           45 server 1660 may include additional functionality, as
1506 to produce frame based profile data display 1544, emu                 described below.
lated mobile device display 1548, network display 1554 and          At least one service provider 1642(1) generates a network
application display 1552.                                         model 1606(1) based upon characteristics of a real network
   Where emulator 1510 emulates more than one device              service of service provider 1642(1). Service provider 1642(1)
model 1512, these device models may be synchronized at an 50 provides network model 1606(1) to development server 1660
application frame level. That is, for each device model 1512, where it is stored within a network model library 1662. Devel
the currently frame of application 1506 within each frame opment server 1660 may receive other network models (e.g.,
based profile data display 1544, emulated mobile device dis network model 1606(2)) from other service providers (e.g.,
play 1548, network display 1554 and application display service provider 1642(2)), each of which may be stored
1552, is the same. Further, interaction with any one of frame 55 within network model library 1662.
based profile data display 1544, emulated mobile device dis         A device manufacturer 1644(1) generates a device model
play 1548, network display 1554 and application display 1608(1) based upon a mobile device developed by device
1552, of any device model 1512, may automatically be propa manufacturer 1644(1). That is, device model 1608(1) is
gated to any other device model 1512 running within emula designed to emulate characteristics of the mobile device.
tor 1510.                                                      60 Device manufacturer 1644(1) provides device model 1608(1)
   A user may interact with one or more of frame based profile to development server 1660 where it is stored within a device
data displays 1544 of device model 1512 to modify resources model library 1664. Development server 1660 may receive
available to application 1506. For example, the user may other device models (e.g., device model 1608(2)) from other
interactively adjust a resource capacity line (e.g., capacity device manufacturers (e.g., device manufacturer 1644(2)),
line 308, FIG. 3) of one or more of frame based profile data 65 each of which may be stored within device model library
displays 1544 to control the resource amount available to         1664. Further, an author using authoring environment 1602
application 1506 within the associated device. In particular, a (2) may also Submit new and/or amended device models (e.g.,
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device model 1608(1)') to development server 1660 foruse by            fewer Subsections of varying sizes without departing from the
authors and authoring environments 1602. Development                   scope hereof). For example, application 1806 may include a
server 1660 may employ one or more techniques for manag                background section, a foreground section, a menu section,
ing updates to network model library 1662 and device model             and a data section, each of which may be authored within a
library 1664 to prevent unauthorized changes.                          different authoring environment. In the example of FIG. 18.
   Development server 1660 may also store authoring envi               three authoring environments cooperate to develop frame
ronment software 1666 for download by a user to create or              based application 1806. In particular, of application 1806,
update an authoring environment 1602. In one example of                Subsection (1) is developed within authoring environment
operation, the user logs into an account manager 1668 of               1802(1), subsection (2) is developed within authoring envi
development server 1660 that, upon validation of the user         10   ronment 1802(2), and subsection (3) is developed within
using account data 1670, allows the user to download author            authoring environment 1802(3). However, for complete
ing environment software 1666 and one or more network                  application evaluation, certain or all Subsections of applica
 models 1606 and/or one or more device models 1608, based              tion 1806 may be loaded into each authoring environment
upon a Subscription status of the user. Account manager 1668           1802 as they are made available (i.e., published) by the
may store account information of the user within account data     15   respective authoring environment.
1670 that includes subscription status for accessing develop              Each authoring environment 1802 includes a para-monitor
ment server 1660. At a first subscription level, the user sub          1808 that publishes status information 1810 indicating activ
scribes to development server 1660 to access authoring envi            ity of that authoring environment to a para-authoring manager
ronment software 1666, and any updates thereto. At a second            1812. For example, para-monitor 1808(1) publishes status
subscription level, the user subscribes to device model library        information of authoring environment 1802(1), para-monitor
1664, and any updates thereto. At a third subscription level,          1808(2) publishes status information of authoring environ
the user subscribes to network model library 1662, and any             ment 1802(2), and para-monitor 1808(3) publishes status
updates thereto. These Subscriptions may be based upon time,           information of authoring environment 1802.(3); each of para
e.g., a monthly Subscription fee, or may be based upon a               monitors 1808(1), 1808(2) and 1808(3) sending status infor
number of accesses (e.g., the user may download X network         25   mation 1810(1). 1810(2) and 1810(3), respectively, to para
 models 1606 and Y device models 1608, where the user has              authoring manager 1812.
prepaid for X network models and Y device models).                        Para-authoring manager 1812 operates to receive pub
   Development server 1660 provides a single source for                lished online status 1814 from para-monitor 1808 and main
obtaining development tools for creation and/or modification           tains a group 1813 association of related Status information
of application 1612 and allows the user to retrieve the latest    30   1810. Group 1813 in this example is identified as associating
models from device manufacturers 1644 and service provid               authoring environments 1802(1), 1802(2) and 1802(3). Para
ers 1642. In certain embodiments, authoring environment                authoring manager 1812 may store other groups with more or
1602 is configured to automatically obtain the latest software         fewer associations, without departing from the scope hereof.
and models, as they become available, based upon the user's            That is, manager 1812 maintains presence information of
subscription (or upon paid fees) to development server 1660.      35   authoring environments 1802. In one embodiment, manager
   FIG. 17 shows one exemplary para-authoring environ                  1812 is located on a development server (e.g., development
ment 1700 wherein two application authors use authoring                servers 1660 and 1706). Para-authoring manager 1812 may
environments 1702(1) and 1702(2) to cooperate to develop a             also include a repository for storing sections of application
frame-based application 1704 for a mobile device. For the              1806 to facilitate retrieval by associated authoring environ
purposes of the present document, the term para-authoring         40   ments 1802. In another embodiment, para-authoring manager
is defined as the simultaneous or near-simultaneous collabo            1812 is located within one of authoring environments 1802.
rative authoring of a particular application by more than one             Para-monitor 1808, within each authoring environment
author. In the present system, para-authoring may be per               1802, receives (either by request or by a publish on change
formed via an Internet connection between two or more sites,           mechanism push) published status information 1810 of
or locally in a desktop/online environment. Authoring envi        45   associated authoring environments 1802, and displays this
ronments 1702 may represent authoring environment 1602,                status information as one or both of online status 1814 and
FIG. 16, as well as the authoring environments shown in                application status 1818 within authoring environment 1802.
FIGS. 9 through 12, as they relate to one or more developers           For example, para-monitor 1808(1) may display status of
authoring a frame based application, and may include similar           authoring environments 1802(2) and 1802(3) and availability
functionality. Authoring environments 1702 may include            50   of associated sections of application 1806. Para-monitor 1808
additional functionality, as described below.                          may also provide other communication facilities, such as, but
   Authoring environments 1702(1) and 1702(2) may each be              not limited to, one or more of video conferencing facilities
used to develop a subsection of frame-based application 1704           1850, audio conferencing facilities 1852, and text communi
and cooperate, through facilities of development server 1706           cation facilities 1816.
to combine and test these parts as one application 1704.          55     More specifically, para-monitor 1808 may publish status
Authoring environments 1702 may be located anywhere pro                information on one or more of network simulator 1824, emu
viding that communication with development server 1706 is              lator 1822 and application editor 1830 (collectively develop
possible. That is, authoring environments 1702 need not be             ment tools 1804), thereby allowing para-authors using asso
located proximate to one another to be able to provide para            ciated (grouped) authoring environments 1802 to receive
authoring environment 1700.                                       60   status of associated development of application 1806.
   FIG. 18 shows one exemplary para-authoring system 1800                 FIG. 19 shows one exemplary para-authoring system 1900
illustrating presence and social (collaborative) interaction           wherein a frame-based application 1906 is developed across
between three authoring environments 1802. Each authoring              three cooperating authoring environments 1902(1), 1902(2)
environment 1802 includes a suite of development tools 1804            and 1902(3). A development server 1912 includes a para
that facilitate development of a frame-based application 1806     65   authoring manager 1914, a network simulator 1924 and an
that is formed of subsections (labeled (1), (2) and (3) in this        emulator 1922. Development server 1912 may represent
example, although application 1806 may include more or                 development server 1660 of FIG.16 and include functionality
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of development server 1660. Para-authoring manager 1914                (1), environments 1902(2) and 1902(3) may be allowed to
may represent para-authoring manager 1812 of FIG. 18 and               interact with the emulated device model through device view
include functionality of para-authoring manager 1812. Net              1944.
work simulator 1924 and emulator 1922 may represent net                  In one embodiment, control screen 1946 may be trans
work simulator 1620 and emulator 1622, respectively, and               ferred between environments 1902 to allow control of emu
include similar functionality. Authoring environment 1902              lator 1922 and network simulator 1924 to be transferred
may represent authoring environment 1602 and authoring                 between para-authors. For example, environment 1902(1)
environment 1802 of FIG. 18 and include similar functional             may transfer control screen 1946 to environment 1902(2)
ity.                                                                   such that the para-author using environment 1902(2) may
   Each authoring environment 1902 is used to develop a           10   control application 1906 within emulator 1922.
section of application 1906. Authoring environments 1902                  In an alternate embodiment, shown in FIG. 20, authoring
each include a viewer 1930 that operates to view application           environment 1902(1) includes emulator 1922 and network
1906 playing on an emulated mobile device within emulator              simulator 1924, and hosts emulation of application 1906.
1922 of development server 1912, described in further detail           FIG. 20 shows para-authoring system 1900 wherein an appli
below. Viewer 1930 may represent a web browser where              15   cation 1906 is developed across three cooperating authoring
output of emulator 1922 is in the form of an interactive web           environments 1902(1), 1902(2) and 1902(3). More or fewer
page.                                                                  para-authoring environments may cooperate without depart
   Through collaborative development (or social network                ing from the scope hereof. Para-monitor 1908(1) publishes
ing), users of authoring environments 1902 are aware of                activities of environment 1902(1) to para-monitor (1908(2)
other para-authors’ activities and may cooperatively view              and 1908(3), such that para-authors using environments 1902
testing of application 1906. Development server 1912, under            (2) and 1902(3) may selectively view emulation of applica
control of authoring environment 1902, loads application               tion 1906 via internet 1920. In particular, para-monitors 1908
1906 into emulator 1922 where it is profiled running on a              may cooperate to form one or more direct peer-to-peer com
model (e.g., device model 102, FIGS. 1A, 1B, 2, and 8, 1512,           munication links between environments 1902 to allow profile
FIGS. 15, and 1608, FIG.16) of a mobile device. In particular,    25   data 1942 and device view 1944 to be viewed within author
emulator 1922 generates profile data 1942 and device view              ing environments 1902(2) and 1902(3). Para-monitor 1908
1944 based upon the emulated application and selected                  may still operate with para-authoring manager 1914 to deter
device model. Profile data 1942 includes data defining esti            mine communication configuration possibilities, but provid
mated application utilization of the mobile devices resources,         ing direct peer-to-peer communication links between envi
including one or more of processor resources, memory              30   ronments 1902 may allow faster data transfer between
resources, graphic resources, and networking resources. Pro            environments and avoid overload of development server
file data 1942 is similar to profile data 152, FIG. 1B, and may        1912.
be displayed (e.g., within viewers 1930) numerically and/or               FIG. 21 shows one exemplary display 2100 illustrating a
graphically (e.g., as a graph, such as shown in profile window         display of profiled data 152, that combines CPU, memory,
110, FIG. 3). Device view 1944 is a graphical representation      35   graphics, and network utilization as determined by processor
of application 1906 running within the device model of the             profile module 202, memory profile module 204, graphic
mobile device. In particular, device view 1944 shows output            profile module 206, and system profile module 208. In par
of application 1906 on the mobile device and may allow one             ticular, display 2100 is shown with a time line 2102 that
or more para-authors to interact with application 1906 and/or          represents timeline 222 of application 104. In this example,
the emulated mobile device (i.e., the device model). Option       40   each bar 2104 indicates total resource utilization for each of
ally, the device model interacts with network simulator 1924           certain frames 223 of application 104. Each bar 2104 may,
to simulate use of the emulated mobile device on a real                alternatively, represent a particular point or period in time
 network. That is, network simulator 1924 interacts with the           during the execution of the application 104. Bars 2104 are
emulated device model to simulate operation of the mobile              displayed prior to execution of the application to indicate a
device within a real network. Emulator 1922 may also gen          45   pre-execution profile of the program. During the playing of
erate a control screen 1946 that allows authoring environment          application 104 within model 102, a current position indicator
1902(1) to control operating of emulator 1922 and optionally           2106 shows the frame (i.e., frame 1 in this example) currently
network simulator 1924. Para-authoring manager 1914 also               displayed by emulated mobile device display 111. A capacity
allows authoring environments 1902(2) and 1902(3) to view,             line 2108 indicates the maximum total resources available to
using viewers 1930(2) and 1930(3), respectively, profile data     50   application 104. Where bars 2104 rise above capacity line
1942 and device view 1944 during emulation of application              2108, resource utilization for indicated frames of application
 1906.                                                                 104 exceed the available resources of mobile device 114; thus
   In one example of operation, authoring environment 1902             application 104 may capout or crash when playing those
(1) controls emulator 1922 and network simulator 1924                  frames. Display 2100 also includes a resource utilization
through control screen 1946 and viewer 1930(1). Para-moni         55   level indicator 2114 that shows the total resource utilization
tor 1908(1) publishes activity status of environment 1902(1)           for the current frame of application 104 (i.e., as indicated by
to para-authoring manager 1914, which in turn updates envi             current position indicator 2106).
ronments 1902(2) and 1902(3) as to this activity. Environ                 Display 2100 illustrates total resource utilization by frames
ments 1902(2) and 1902(3) may then elect, through para                 223 of application 104, thereby facilitating assessment of
monitor 1908(2) and 1908(3), to also view profile data 1942       60   stresses applied to mobile device 114 when playing applica
and device view 1944 on viewers 1930(2) and 1930(3),                   tion 104. Where the number of frames 223 (displayed as bars
respectively. Para-monitor 1908, as shown with para-monitor            2104) of application 104 exceeds the display capacity of
1808 in FIG. 18, may also provide other collaborative com              display 2100, a scroll bar 2112 allows the user to scroll
munication means, such as video, audio and text communi                through bars 2104 for application 104. The displayed bars
cation, that allow users of environments 1902 to communi          65   2104 are also shown grouped to indicate different sections,
cate during the shared emulation of application 1906.                  including “Introduction” 2122, “Main Menu” 2124, “Net
Optionally, for example under control of environment 1902              work” 2126, and “Advertisements-Ending 2128, of applica
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tion 104. For example, section 2122 represents initial frames         104 within model 102, a current position indicator 2406
of application 104 that correspond to the introduction of an          shows the frame (i.e., frame 1 in this example) currently
application, i.e., the beginning preamble or introductory             displayed by emulated mobile device display 111 (see FIG.
material prior to a main menu. In a sports application, for           4). A capacity line 2408 indicates the maximum graphic
example, the introduction of an application might consist of     5    resources available to application 104. Where bars 2404 rise
introducing the corporate sponsors for a given event, includ          above capacity line 2408, graphic resource utilization for
ing setting up the landscape of the application which leads           associated frames of application 104 exceed the available
into the main menu.                                                   graphic resources of mobile device 114; thus application 104
   FIG. 22 shows one exemplary display 2200 illustrating a            may capout or crash when playing those frames. Display
frame based display of profiled data 152 for CPU utilization     10   2400 illustrates graphic resource utilization by frames 223 of
as determined by processor profile module 202. In particular,         application 104 in profile window 110, thereby facilitating
display 2200 is shown with a time line 2202 that represents           assessment of graphic stresses applied to mobile device 114
timeline 222 of application 104. In this example, each bar            when playing application 104. Where the number of frames
2204 indicates processor resource utilization for certain             223 of application 104 exceeds the display capacity of display
frames 223 of application 104. During play of application 104    15   2400, a scroll bar 2412 allows the user to scroll through bars
within model 102, a current position indicator 2206 shows the         2404 for application 104.
frame (frame 1 in this example) currently displayed by emu               FIG. 25 shows one exemplary display 2500 illustrating a
lated mobile device display 111 (see FIG. 4A). Capacity line          frame based display of profiled data 152 for network resource
2208 indicates the maximum processor resource available to            utilization as determined by system profile module 208. In
application 104. Where bars 2204 rise above capacity line             particular, display 2500 is shown with a time line 2502 that
2208, processor resource utilization for associated frames of         represents timeline 222 of application 104. In this example,
application 104 exceed the available processor resources of           each bar 2504 indicates network resource utilization for cer
mobile device 114; thus application 104 may capout or                 tain frames 223 of application 104. During play of application
crash when playing those frames. Display 2200 illustrates             104 within model 102, a current position indicator 2506
processor resource utilization by frames 223 of application      25   shows the frame (i.e., frame 1 in this example) currently
104, thereby facilitating assessment of processor stresses            displayed by emulated mobile device display 111 (see FIG.
applied to mobile device 114 when playing application 104.            4). A capacity line 2508 indicates the maximum network
Where the number of frames 223 of application 104 exceeds             resources available to application 104. Where bars 2504 rise
the display capacity of display 2200, a scroll bar 2212 allows        above capacity line 2508, network resource utilization for
the user to scroll through bars 2204 for application 104.        30   associated frames of application 104 exceed the available
   The displayed bars 2204 are also shown grouped to indi             network resources of mobile device 114; thus application 104
cate different sections (e.g., “Introduction” 2222, “Main             may capout or crash when playing those frames. Display
Menu 2224, and Advertisements Ending 2226) of appli                   2500 illustrates network resource utilization by frames 223 of
cation 104. Display 2200 further shows one exemplary line             application 104, thereby facilitating assessment of network
graph 2242 illustrating alternate display options for frames     35   stresses applied to mobile device 114 when playing applica
2204, and the use of a movement tool 2244 to adjust capacity          tion 104. Where the number of frames 223 of application 104
line 2208 and/or the amount of available processor resource.          exceeds the display capacity of display 2500, a scroll bar
   FIG. 23 shows one exemplary display 2300 illustrating a            2512 allows the user to scroll through bars 2504 for applica
frame based display of profiled data 152 for memory utiliza           tion 104.
tion as determined by memory profile module 204. In par          40      FIG. 26 shows one exemplary screen 2600 illustrating a
ticular, display 2300 is shown with a time line 2302 that             frame based display of profiled data 1942, FIG. 20, for total
represents timeline 222 of application 104. In this example,          system resource utilization as determined by one or more
each bar 2304 indicates memory resource utilization for cer           profilers within emulator 1922. In particular, screen 2600 is
tain frames 223 of application 104. During play of application        shown with a time line 2602 that represent a timeline of
104 within model 102, a current position indicator 2306          45   application 1906. In this example, each bar 2604 indicates
shows the frame (i.e., frame 1 in this example) currently             total resource utilization for certain frames of application
displayed by emulated mobile device display 111 (see FIG.             1906. During play of application 1906 within emulator 1922,
4). A capacity line 2308 indicates the maximum memory                 a current position indicator 2606 shows the frame (i.e., frame
resources available to application 104. Where bars 2304 rise          1 in this example) currently displayed by emulated mobile
above capacity line 2308, memory resource utilization for        50   device display 2652. A capacity line 2608 indicates the maxi
associated frames of application 104 exceed the available             mum total resources available to application 1906. Where
memory resources of mobile device 114; thus application 104           bars 2604 rise above capacity line 2608, total resource utili
may capout or crash when playing those frames. Display                zation for associated frames of application 1906 exceed the
2300 illustrates memory resource utilization by frames 223 of         available total resources of mobile device 114; thus applica
application 104, thereby facilitating assessment of memory       55   tion 1906 may capout or crash when playing those frames.
stresses applied to mobile device 114 when playing applica            Display 2600 illustrates total resource utilization by frames of
tion 104. Where the number of frames 223 of application 104           application 1906, thereby facilitating assessment of total
exceeds the display capacity of display 2300, a scroll bar            stresses applied to mobile device 114 when playing applica
2312 allows the user to scroll through bars 2304 for applica          tion 1906. Where the number of frames of application 1906
tion 104.                                                        60   exceeds the display capacity of display 2600, a scroll bar
   FIG. 24 shows one exemplary display 2400 illustrating a            2612 allows the user to scroll through bars 2604 for applica
frame based display of profiled data 152 for graphic resource         tion 1906.
utilization as determined by graphic profile module 206. In             Screen 2600 may be simultaneously viewed within viewer
particular, display 2400 is shown with a time line 2402 that          1930 of one or more authoring environments 1902. For
represents timeline 222 of application 104. In this example,     65   example, where application 1906 is developed by two or more
each bar 2404 indicates graphic resource utilization for cer          cooperating developers using authoring environments 1902,
tain frames 223 of application 104. During play of application        each authoring environment 1902 may display screen 2600 to
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                              23                                                                    24
show profile data 1942 and device view 1944 within viewer                 15. The system of claim 1, wherein the software is further
1930 through operation of para-monitor 1908. In the example             configured to be hosted by either a vendor, or a service pro
of FIG. 26, the application is developed by four cooperating            vider, or both and distributed to one or more users via the
developers (1-4), each developing one of four parts 2662,               internet.
2664, 2666, and 2668, respectively, of the application. For                16. The system of claim 15, wherein either the vendor, or
example, developer #1 may be working on a first part of the             the service provider, or both charge fees for using the soft
                                                                        Wa.
application, while developer #2 is working on a second part
and developer #3 is working on a third part of the application.           17. The system of claim 1, wherein the software is further
   Changes may be made in the above methods and systems                 configured to enable a user to select from one or more net
without departing from the scope hereof. It should thus be         10   work characteristics for testing how well mobile content per
                                                                        forms on the mobile device.
noted that the matter contained in the above description or                18. The system of claim 17, wherein the network charac
shown in the accompanying drawings should be interpreted                teristics includes one or more network profiles.
as illustrative and not in a limiting sense. The following                 19. The system of claim 18, wherein the network profiles
claims are intended to cover all generic and specific features     15   are configured to enable a user to either manage the profiles,
described herein, as well as all statements of the scope of the         or create custom profiles, or both.
present method and system, which, as a matter of language,                 20. A method for emulating an application playing on an
might be said to fall therebetween.                                     application player in each of a plurality of mobile devices, the
                                                                        method comprising:
   What is claimed is:                                                     retrieving characteristics, indicative of performance, for
  1. A system for testing an application for a mobile device                  each of the mobile devices; emulating each of the mobile
comprising:                                                                   devices in real time using respective models running on
  Software configured to simulate, via one or more profile                    a processor extrinsic to the mobile devices, wherein each
     display windows, a plurality of network characteristics                 of the models is based on the retrieved characteristics;
     indicative of performance of the mobile device when           25        playing the application in real time using the application
     executing the application; wherein the network charac                   player within each of the models; monitoring the appli
     teristics are based on data of interaction with networks in             cation playing in each of the models to determine
     non-simulated environments.                                             resource utilization information by the application for
   2. The system of claim 1, wherein the software is further                 each of the mobile devices; and displaying the resource
configured to capture network profiles from a plurality of         30        utilization information for at least one of the mobile
geographical locations.                                                      devices.
   3. The system of claim 2, wherein the network profiles can              21. The method of claim 20, wherein the step of displaying
either be saved in a storage medium, or stored on a server, or          comprises displaying the resource utilization information
both.                                                                   graphically using a timeline numbered to indicate points in
   4. The system of claim 3, wherein the software is further       35   time during the execution of the application.
configured to access a library of network profiles.                        22. The method of claim 20, wherein the step of retrieving
   5. The system of claim 4, wherein the network profiles are           further includes interacting with a user to select the plurality
displayed using either a map, or a pull-down list, or both.             of mobile devices from a list of mobile devices stored in a
   6. The system of claim 1, wherein the data includes either           library containing characteristics indicative of performance
live network profiles, or real-time bandwidth profiles, or both.   40   of the mobile devices.
   7. The system of claim 1, wherein the one or more network               23. The method of claim 20, wherein step of emulating
characteristics are based on data of interaction with one or            comprises:
more mobile devices used in non-simulated environments.                    determining, based upon the characteristics, for each
   8. The system of claim 1, wherein the software is further                 mobile device: the display size of the mobile device; the
configured to create one or more scenarios that include Scripts    45        amount of random access memory (RAM); the amount
that impact either the performance of the application, or the                of non-volatile memory; and the processor speed; and
 network, or both.                                                           for each said mobile device, generating the respective
   9. The system of claim 8, wherein the one or more sce                     model based upon one or more of the display size, the
narios define one or more events that occur during the test                  amount of RAM, the amount of non-volatile memory,
which includes defining one or more virtual users to simulate      50        and the processor type.
real users.                                                                24. The method of claim 20, wherein the steps of playing
   10. The system of claim 9, wherein the one or more virtual           and monitoring simulate execution of one or more frames of
users emulate actions of real user behavior.                            a frame-based application.
   11. The system of claim 10, wherein the actions that are                25. The method of claim 20, further comprising identifying
performed by one or more virtual users are recorded togen          55   one or more frames of a frame-based application where
erate a script which can be modified to emulate real user               resource utilization of the application exceeds a maximum
behavior.                                                               resource availability threshold of any one of the mobile
   12. The system of claim 11, wherein the scripts include one          devices.
or more functions that measure and record performance of                  26. The method of claim 25, further comprising displaying
either the application, or the network, or both.                   60   the first identified frame of the application to indicate a crash
   13. The system of claim 1, wherein the software is further           of the application on the emulated mobile device.
configured to display data graphically which is configured to             27. The method of claim 20, further comprising identifying
enable a user to identify either application performance, or            one or more frames of a frame-based application where
network performance, or both.                                           resource utilization of the application exceeds a maximum
   14. The system of claim 1, wherein the software is further      65   resource availability threshold of any one of the mobile
configured to interact with a network to enable a user to               devices, wherein the threshold defaults to a maximum
update the software.                                                    resource availability for the emulated mobile device.
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                               25                                                                     26
   28. The method of claim 20, further comprising identifying             instructions for retrieving characteristics indicative of per
one or more frames of a frame-based application where                           formance for each of the mobile devices; instructions for
resource utilization of the application exceeds a maximum                       emulating each of the mobile devices on a processor
resource availability threshold of any one of the mobile                        extrinsic thereto using a respective model based upon
devices, wherein the threshold is modified to dynamically                       the characteristics for each respective model; instruc
adjust resource availability to the application.                                tions for playing the application within each of the mod
   29. A method for emulating an application playing on at                      els; and instructions for monitoring the application play
least one mobile device comprising:                                             ing in each of the models to determine resource
   receiving instructions to select each said mobile device        10
                                                                                utilization of the application for each of the mobile
      from a list including characteristics indicative of perfor                devices.
      mance of each said mobile device; emulating each said                37. An emulator for profiling an application running on a
      mobile device using a respective model, wherein each              plurality of mobile devices comprising:
      said model is based upon the characteristics of a respec             a model of each of the mobile devices based upon charac
      tive said mobile device; playing the application in real     15         teristics of the respective mobile device; wherein the
      time within each said model; monitoring each said                       model uses an application player to play the application
      model to determine resource utilization of the applica                  within each of the models on a processor extrinsic to the
      tion for each said mobile device; and displaying the                    mobile device; and a monitor for determining resource
     resource utilization information.                                        utilization of the application when played by the respec
  30. The method of claim 29, further comprising publishing                     tive mobile device.
the application to the mobile device once resource utilization            38. The emulator of claim 37, wherein the monitor com
is determined to be within available resources of the mobile            prises means for displaying the resource utilization relative to
device.                                                                 a particular point in time during the execution of the applica
   31. A method for emulating a frame-based application                 tion.
playing on a mobile device that includes an application            25     39. A development server for supporting a plurality of
player, the method comprising:                                          environments for developing applications to run on a plurality
   retrieving characteristics indicative of performance of the          of mobile devices, comprising:
      mobile device; emulating, on a processor extrinsic to the           a network profile library storing one or more network pro
      mobile device, the mobile device as a model based upon                 files defining operation of a communication network for
     the retrieved characteristics; playing the application in     30        communicating with the mobile devices; and a device
      real time within the model; monitoring the application                 model library storing one or more mobile devices.
      playing in the model to determine utilization of the                40. The development server of claim 39, wherein the
      mobile device's resources by the application; identify            device model defines a player for running the applications on
      ing a frame of the application where resource utilization         the device models.
     by the application exceeds a maximum resource avail           35      41. The development server of claim 39, further compris
      ability threshold of the mobile device; and displaying            ing an emulator for emulating the applications in real time on
     the identified frame to indicate a crash of the application        a processor extrinsic to the mobile devices, wherein the out
     on the emulated mobile device.                                     put of the emulator is published to one or more of the envi
   32. A method for developing an application to play on a              rOnmentS.
mobile device that includes an application player, the method      40     42. A para-authoring environment for developing an appli
comprising:                                                             cation to run on a mobile device comprising:
   downloading, via the Internet, computer-readable instruc               two or more authoring environments cooperating to author
     tions for executing the application; determining                        the application, wherein each of the authoring environ
     resource utilization of the application when executed on                ments comprise:
     the mobile device by:                                         45     a para-monitor for monitoring activity of the authoring
   emulating the mobile device on a processor extrinsic to the               environment, for publishing information of the activity,
     mobile device using a model based on the characteris                    and for receiving information of other authoring envi
     tics; loading the application into the model; and moni                  ronment activity; and an application editor for creating
     toring the application playing in real time within the                  and editing at least one Subsection of the application,
     model to determine resource utilization of the applica        50        wherein other subsections of the application are created
     tion for the mobile device; and repeating the steps of                  and edited by other authoring environments; and a para
     receiving and determining until the resource utilization                authoring manager for managing collaborative develop
     when running the application is no greater than resource                ment among the authoring environments.
     availability of the mobile device.                                   43. The para-authoring environment of claim 42, wherein
   33. The method of claim 32, further comprising selecting        55   the two or more authoring environments each develop a part
the mobile device from a list of mobile devices containing              of the application.
characteristics indicative of performance of the mobile                   44. The para-authoring environment of claim 42, wherein
devices.                                                                the para-authoring manager is located on a development
  34. The method of claim 33, wherein the step of download              server communicatively connected to each of the authoring
ing is responsive to an online payment to a third party.           60   environments.
  35. The method of claim 34, wherein the online payment                   45. The para-authoring environment of claim 42, further
comprises one of a Subscription fee and a usage fee.                    comprising an emulator for emulating the mobile device run
  36. A Software product comprising instructions, stored on             ning the application, wherein an output of the emulator is
computer-readable media, wherein the instructions, when                 accessible from at least one of the authoring environments.
executed by a computer, perform steps emulating and profil         65      46. The para-authoring environment of claim 45, wherein
ing a frame-based application to play on a plurality of mobile          the emulator is located on a development server communica
devices each including an application player, comprising:               tively connected to each of the authoring environments.
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                               27                                       28
   47. A para-authoring environment for developing an appli
cation executable on a mobile device, comprising:
   a plurality of cooperating authoring environments, wherein
      each authoring environment comprises:
   an application editor for authoring at least part of the appli- 5
      cation; and a para-monitor for generating activity infor
      mation based upon monitored activity of the authoring
      environment, and for determining an authoring status of
      the application; wherein at least one of the authoring
      environments further comprises an emulator for emulat- 10
      ing a model of the mobile device for testing operability
      of the application on the mobile device; wherein the
      activity information includes profile data indicating
      resource utilization of the application and a device view
      generated by the emulator, and wherein the authoring 15
      environments intercommunicate to exchange the activ
      ity information, authoring status and parts of the appli
     cation.
   48. The para-authoring environment of claim 47, wherein
the profile data and the device view are displayed within one 20
or more or more of the other authoring environments.
   49. The para-authoring environment of claim 47, wherein
the para-monitor transfers, upon publication by the authoring
environment, one or more parts of the application to one or
more of the other authoring environments.                        25
  50. The para-authoring environment of claim 47, wherein
each para-monitor enables collaborative development includ
ing one or more of text, video and audio communication.
                       k   k   k    k   k
